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                                          UNPUBLISHED

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                                            No. 17-1382


        NELSON S. CHASE, Esq.,

                          Plaintiff - Appellee,

                    v.

        BRIAN KNIGHT, jointly and severally,

                          Defendant - Appellant,

                    and

        LOP CAPITAL LLC, jointly and severally; STRATEGIC LENDING
        SOLUTIONS LLC, jointly and severally; MICHAEL LOPRIENO, jointly and
        severally,

                          Defendants.



                                            No. 17-1395


        NELSON S. CHASE, Esq.,

                          Plaintiff - Appellant,

                    v.

        BRIAN KNIGHT, jointly and severally; LOP CAPITAL LLC, jointly and
        severally; STRATEGIC LENDING SOLUTIONS LLC, jointly and severally;
        MICHAEL LOPRIENO, jointly and severally,

                          Defendants - Appellees.
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                                              No. 17-1871


        NELSON S. CHASE, Esq.,

                            Plaintiff - Appellant,

                     v.

        BRIAN KNIGHT, jointly and severally; LOP CAPITAL LLC, jointly and
        severally; MICHAEL LOPRIENO, jointly and severally; STRATEGIC LENDING
        SOLUTIONS LLC, jointly and severally,

                            Defendants - Appellees.



        Appeals from the United States District Court for the District of South Carolina, at
        Charleston. Bruce H. Hendricks, District Judge. (2:13-cv-00162-BHH)


        Submitted: February 28, 2018                                      Decided: May 9, 2018


        Before WILKINSON, TRAXLER, and HARRIS, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Nelson S. Chase, Appellant/Appellee Pro Se. Brian Knight, Appellee/Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

              Nelson Chase and Brian Knight separately appeal the district court’s order

        accepting the recommendation of the magistrate judge in part and denying Chase’s

        motion to compel settlement. Chase also appeals the district court’s order denying his

        motions for relief from judgment under Fed. R. Civ. P. 60(b)(3). We have reviewed the

        record and find no reversible error. Accordingly, we affirm for the reasons stated by the

        district court. Chase v. LOP Capital LLC, No. 2:13-cv-00162-BHH (D.S.C. Feb. 27,

        2017; June 26, 2017). We grant Knight’s motion to proceed in forma pauperis. We

        dispense with oral argument because the facts and legal contentions are adequately

        presented in the materials before this court and argument would not aid the decisional

        process.

                                                                                    AFFIRMED




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